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                         UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF LOUISIANA
                                 SHREVEPORT DIVISION

INTERNATIONAL PAPER CO., ET AL.                        CIVIL ACTION NO. 11-cv-0017

vs

DEEP SOUTH EQUIPMENT CO., ET AL.                       MAGISTRATE JUDGE HORNSBY


                           PLAINTIFFS’ MOTION IN LIMINE

          Before the voir dire examination of the jury panel, plaintiffs, International Paper

Company and Factory Mutual Insurance Company, make this motion in limine. Plaintiffs seek

to exclude matters that are inadmissible, irrelevant, or prejudicial to the material issues in this

case. If defendant, Deep South Equipment Company, injects these matters in this case through a

party, an attorney, or a witness, defendant will cause irreparable harm to plaintiffs’ case that no

jury instruction would cure. If any of these matters are directly or indirectly brought to the

attention of the jury, plaintiffs will be compelled to move for a mistrial. In an effort to avoid

prejudice and a possible mistrial, plaintiffs make this motion in limine.

                                             A. Grounds

          Plaintiffs ask the Court to prohibit defendant from offering any of the following matters

without first asking for a ruling from the Court, outside the jury’s presence, on the admissibility

of the matter.

     1.          Any evidence, statement, or argument of other crimes, wrongs, or acts to prove a

          witness’s character to show that on January 7, 2010, such witness acted in accordance

          with his character. See Fed. R. Evid. 404(b)(1).

AGREED:          YES     NO

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   2.          Any evidence, statement, or argument about settlement negotiations. Evidence of

        settlement negotiations is inadmissible. See Fed. R. Evid. 408; Affiliated Mfrs., Inc. v.

        Aluminum Co. of Am., 56 F.3d 521, 526 (3d Cir. 1995).

AGREED:        YES    NO

   3.          Any evidence, statement, or argument that witness, Anthony Baker, was

        convicted of attempted indecent behavior with a juvenile.       The probative value of

        admitting evidence of this conviction does not outweigh its prejudicial effect. See Fed.

        R. Evid. 609(a)(1)(A); United States v. Motley, 940 F.2d 1079, 1083 (7th Cir. 1991).

AGREED:        YES    NO

   4.          Any evidence, statement, or argument that witness, Michael Ebarb, was convicted

        of carnal knowledge of a juvenile. The probative value of admitting evidence of this

        conviction does not outweigh its prejudicial effect. See Fed. R. Evid. 609(a)(1)(A);

        United States v. Motley, 940 F.2d 1079, 1083 (7th Cir. 1991).

AGREED:        YES    NO

   5.          Any evidence from an expert witness who was not identified as a testifying expert

        in responses to interrogatories and was not timely designated. See Coastal Fuels of P.R.,

        Inc. v. Caribbean Petroleum Corp., 79 F.3d 182, 202-03 (1st Cir. 1996); Alldread v. City

        of Grenada, 988 F.2d 1425, 1435-36 (5th Cir. 1993).

AGREED:        YES    NO

   6.          Any opinion of an expert witness that is not supported by admissible facts. See

        Guillory v. Domtar Indus. Inc., 95 F.3d 1320, 1331 (5th Cir. 1996).

AGREED:        YES    NO

   7.          Any evidence from an expert witness that is outside the scope of the expert’s

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         written opinion produced during pretrial discovery. See Thudium v. Allied Prods. Corp.,

         36 F.3d 767, 769-70 (8th Cir. 1994).

AGREED:         YES       NO

   8.           Any evidence, statement, or argument supporting an issue not contained in the

         final pretrial order. Life Care Ctrs. of Am., Inc. v. Charles Town Assocs. L.P., 79 F.3d

         496, 507-08 (6th Cir. 1996).

AGREED:         YES       NO

   9.           Any evidence in the form of computer-animated video or videotape that portrays

         events at issue in a manner not substantially similar to the actual events. Specifically,

         defendant has produced a video of a lift truck dragging its clamp on a concrete surface

         producing sparks. Defendant should be precluded from referencing or using this video

         because the warehouse, at the time in question, had a layer of paper on the floor and thus

         the bare concrete that produced the sparks in the video failed to portray events in a

         manner suitably similar to the actual events. See Hinkle v. City of Clarksburg, 81 F.3d

         416, 424-25 (4th Cir. 1996).

AGREED:         YES       NO

   10.          Any evidence that defendant did not produce in discovery.

   11.          Defendant should not be permitted to present any witness it did not name in its

         disclosures or answers to interrogatories or any evidence it did not produce in response to

         any discovery.

AGREED:         YES       NO

   12.          Any evidence, statement, or argument suggesting that plaintiffs, through their

         attorney, asserted claims of privilege during discovery. Claims of privilege are not

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         admissible as evidence. See Fed. R. Evid. 501.

AGREED:          YES     NO

   13.           Any attempt to elicit testimony from plaintiffs about communications with their

         attorneys. Such communications are privileged. See Fed. R. Evid. 501.

AGREED:          YES     NO

   14.           Any evidence, statement, or argument that a witness goes to church every Sunday

         and tithes or serves as a minister or other church functionary. Evidence of a witness’s

         religious beliefs is not admissible to attack or support credibility. See Fed. R. Evid. 610.

AGREED:          YES     NO

   15.           Any evidence, statement, or argument that Tango employees were dragging bales

         with wires on the ground on the night of the fire. Even though evidence of a habit or

         routine practice may be admissible to prove that plaintiff acted in accordance with the

         habit or routine practice, evidence of past conduct that does not rise to the level of habit is

         inadmissible. See Fed. R. Evid. 406, 608(b).

AGREED:          YES     NO

   16.           Any evidence, statement, or argument that any witness drinks or spends

         excessively on liquor. Intoxication is not an issue in this trial, and this evidence would

         unduly prejudice the jury against the witness.

AGREED:          YES     NO

   17.           Any evidence, statement, or argument of defendant’s financial adversity or

         plaintiffs’ financial prosperity.

AGREED:          YES     NO

   18.           Any evidence, statement, or argument of the value of plaintiffs’ assets apart from

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         the value of building and paper at issue in this case.

AGREED:          YES        NO

   19.           Any evidence, statement, or argument of the probable testimony of a witness who

         is absent, unavailable, not called to testify in this case, or not allowed to testify in this

         case.

AGREED:          YES        NO

   20.           Any attempt to ask plaintiffs’ attorney to produce documents, to stipulate to any

         fact, or to make any agreement in the presence of the jury.

AGREED:          YES        NO

   21.           Any statement of the law, other than one about the burden of proof and the basic

         legal definitions counsel believe to be applicable, before the Court rules on the law

         applicable to this case.

AGREED:          YES        NO

   22.           Any evidence, statement, or argument that plaintiffs’ attorney has a contingency

         fee in the suit.

AGREED:          YES        NO

   23.           Any other reference to collateral sources, including re-insurance. The claim by

         International Paper Company was paid in full by Factory Mutual Insurance Company and

         was reimbursed to the limit of the facultative reinsurance by Circle Tree. The funding

         arrangements or risk sharing arrangements that Factory Mutual may have with either

         Circle Tree or any other reinsurer are not relevant to the issues of the subrogation case

         against Deep South and would only be prejudicial and confusing to the jury. Defendant

         Deep South appears to intend to suggest that Factory Mutual is entitled to recover less

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         than the amount paid to International Paper because of the existence of reinsurance. This

         is contrary to law and would only confuse the jury.

AGREED:         YES        NO

   24.          Any evidence, statement, or argument that plaintiffs are or have been involved in

         other lawsuits.

AGREED:         YES        NO

   25.          Any evidence, statement, or argument concerning fires that occurred at the

         Murphy Bonded Warehouse subsequent to the fire at issue.

AGREED:         YES        NO

   26.          Any evidence, statement, or argument about additional actions or precautions that

         International Paper Company could have taken to avoid the injuries plaintiffs suffered.

         For Deep South to be found liable, the jury must determine that the fire was caused by

         Deep South’s failure to supply the lift truck in question with the safety equipment

         recommended by the manufacturer. If the jury so determines, then the absence of the

         recommended safety equipment is an intervening superseding cause not foreseeable to

         International Paper or Tango making the manner in which the warehouse was operated,

         the size of the stacks of paper, the amount of paper, the presence of scrap paper on the

         floor, the absence of sprinklers, any divergence of practice between the Murphy Bonded

         Warehouse Operation and other recycled paper storage facilities operated by International

         Paper, any divergence of practice between the Murphy Bonded Warehouse Operation and

         NFPA 505, any divergence of practice between the Murphy Bonded Warehouse

         Operation and ANSI B56.1, any divergence of practice between the Murphy Bonded

         Warehouse Operation and International Paper’s Asset Protection Manual, other recycled

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         paper storage facilities operated by International Paper, and any divergence of practice

         between the Murphy Bonded Warehouse Operation and Factory Mutual Data Sheets are

         irrelevant.

AGREED:          YES    NO

   27.           Any evidence, statement, or argument about additional actions or precautions that

         International Paper Company could have taken to educate or control Tango’s Murphy

         Bonded Warehouse operations.         Tango was an independent contractor to which

         International Paper owed no legal duty in terms of directing, educating or training.

AGREED:          YES    NO

   28.           Any evidence, statement, or argument about additional actions or precautions that

         International Paper Company could have taken to avoid the injuries plaintiffs suffered by

         following the International Paper Asset Protection Manual, or Factory Mutual Data

         Sheets because they do not create a legal duty and are therefore irrelevant.

   29.           Any out of court statement by any Tango employee concerning the cause of the

         fire at issue in this case because no one witnessed the ignition of the fire and any

         suggestion as to cause by a Tango employee would be mere speculation and not based on

         personal knowledge.

AGREED:          YES    NO

   30.           Any statement, recording, videotape, report, or record recounting hearsay

         attributed to a Tango employee concerning the cause of the fire at issue in this case

         because no one witnessed the ignition of the fire and any suggestion as to cause by a

         Tango employee would be mere speculation and not based on personal knowledge

   31.           Any reference to or mention of the claim adjustment by Factory Mutual apart

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         from reference to the amount paid to International Paper by Factory Mutual. The claim

         adjustment does not prove the amount of damages and is thus irrelevant.

AGREED:         YES      NO

   32.          Any evidence, statement, or argument concerning publicity about this case, or any

         suggestion that the publicity is true or correct.

AGREED:         YES      NO

   33.          Any evidence, statement, or argument that any Deep South employee belongs to

         any church or law enforcement support group.

AGREED:         YES      NO

         Any evidence, statement, or argument that plaintiffs’ case should not be taken seriously

because plaintiffs do not produce expert testimony as to a fact.

AGREED:         YES      NO

   34.          Any evidence, statement, or argument concerning a claim, lawsuit, verdict, or

         judgment having an adverse effect on insurance rates or premiums.

AGREED:         YES      NO

   35.          Any evidence, statement, or argument concerning a claim, lawsuit, verdict, or

         judgment having an adverse effect on costs and availability of goods or services.

AGREED:         YES      NO

                                            B. Conclusion

         For these reasons, plaintiffs ask the Court to instruct defendant and all attorneys not to

mention, refer to, interrogate about, or attempt to convey to the jury in any manner, either

directly or indirectly, any of these matters without first obtaining the permission of the Court,

outside the presence and hearing of the jury, and to instruct defendant and all attorneys to warn

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and caution each of their witnesses to follow the same instructions.



                                                     Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

       I certify that on the 17th day of September, 2015, a true and correct copy of the above and
foregoing was served on the following attorneys via email.

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